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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
                                    )              Case No. 07-20099-03-JWL
            V.                      )
                                    )
MANUEL GERARDO TERRAZAS,            )
                                    )
                        Defendant.  )
                                    )
____________________________________)

                          FINAL ORDER OF FORFEITURE
                    AND IMPOSITION OF FORFEITURE JUDGMENT

       WHEREAS, on June 15, 2009, the Defendant entered his plea of guilty to Count 1 of the

February 27, 2008 Second Superseding Indictment; and,

       WHEREAS, the United States has filed an Amended Motion for entry of a Final Order of

Forfeiture which seeks the imposition of a personal forfeiture money judgment against the

Defendant in the amount of $514,000.00; and,

       WHEREAS, the Defendant by stipulation does not oppose such personal forfeiture money

judgment; and,

       WHEREAS, Rule 32.2(c)(1) provides that no ancillary proceeding is required to the extent

that the forfeiture consists of a money judgment

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that , pursuant to 21 U.S.C.

§ 853 and Fed.R.Crim.Pro 32.2 a personal forfeiture money judgment is hereby imposed against the

Defendant in the amount of $514,000.00.
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       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.

       IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall

have become final as to the Defendant at the time of sentencing, and shall be made part of the

sentence and included in the judgment; and

       IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to Rule

32.2(e) to amend this Order of Forfeiture as to substitute property having a value not to exceed

$514,000.00 so as to satisfy the money judgment in whole or in part.


       SO ORDERED this 31st day of May, 2011.



                                              s/ John W. Lungstrum
                                              JOHN W. LUNGSTRUM
                                              UNITED STATES DISTRICT JUDGE




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